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  NOT FOR PUBLICATION



                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

                                                   :
   JUICE ENTERTAINMENT, LLC, et al.                :
                                                   :
                                 Plaintiffs,       :      ORDER
                                                   :
                         v.                        :      Civ. No. 2:11-07318 (WHW)
                                                   :
   LIVE NATION ENTERTAINMENT, INC.,                :
                                                   :
                                 Defendant.        :
                                                   :
                                                   :

  Walls, Senior District Judge

         For the reasons expressed in the accompanying Opinion,

         It is, on this 3rd day of July 2012 ORDERED:

         That Defendant’s Motion to Dismiss Plaintiffs’ tortious interference with business

  relations claim is DENIED;

         That Defendant’s Motion to Dismiss Plaintiffs’ tortious interference with contract claim

  is GRANTED without prejudice;

         That Defendant’s Motion to Dismiss Plaintiff’s defamation claim is GRANTED without

  prejudice;

         That Defendant’s Motion to Dismiss Plaintiffs’ unlawful interference with contract claim

  is GRANTED with prejudice;

         That Defendant’s Motion to Dismiss Plaintiffs’ unfair competition claim is GRANTED

  with prejudice.

                                                             s/ William H. Walls
                                                             United States Senior District Judge
